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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

JUDICIAL WATCH, INC.,

                Plaintiff,

   v.
                                                     Case No. 1:19-cv-807 (EGS)
OFFICE OF THE DIRECTOR OF
NATIONAL INTELLIGENCE,

                Defendant.



                                    JOINT STATUS REPORT

        The parties, by counsel, submit this joint status report.

        1.      The background to this case is provided in the parties’ August 5, 2019 Joint Status

Report, ECF No. 7, and incorporated here by reference. In the August 5, 2019 Joint Status

Report, the parties advised the Court that they are currently working together to resolve any

outstanding issues related to ODNI’s response to Judicial Watch’s FOIA request without the

need for summary judgment briefing and proposed submitting a joint status report to the Court

on or before August 26, 2019, informing the Court whether the parties have resolved all disputes

or whether dispositive motions are necessary and in that event, proposing a briefing schedule.

See ECF No. 7 at 2.

        2.      The parties are continuing to work together to resolve any outstanding issues

related to ODNI’s response to Judicial Watch’s FOIA request without the need for summary

judgment briefing. The parties therefore believe it would be premature to set a briefing schedule

for dispositive motions at this time and, instead, propose that they submit a joint status report to

the Court on or before September 20, 2019, informing the Court whether the parties have
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resolved all disputes or whether dispositive motions are necessary and in that event, proposing a

briefing schedule.



Dated: August 26, 2019                           Respectfully submitted,


/s/ Ramona R. Cotca                              JOSEPH H. HUNT
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